           Case 2:23-ap-01151-SK Doc 61 Filed 11/23/23                                            Entered 11/23/23 21:18:32                        Desc
                               Imaged Certificate of Notice                                       Page 1 of 4
                                                              United States Bankruptcy Court
                                                               Central District of California
Vendriger,
       Plaintiff                                                                                                       Adv. Proc. No. 23-01151-SK
Klein,
       Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0973-2                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Nov 21, 2023                                               Form ID: van193                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Nov 23, 2023:
Recip ID                 Recipient Name and Address
dft                    + Leslie Klein, 322 N. June Street, Los Angeles, CA 90004-1042

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Nov 23, 2023                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on November 21, 2023 at the address(es) listed
below:
Name                               Email Address
Brett J. Wasserman
                                   on behalf of Plaintiff Adi Vendriger wasserman@smcounsel.com

Clarisse Young
                                   on behalf of Plaintiff Adi Vendriger youngshumaker@smcounsel.com levern@smcounsel.com

Michael I. Gottfried
                                   on behalf of Interested Party Courtesy NEF mgottfried@elkinskalt.com
                                   cavila@elkinskalt.com,lwageman@elkinskalt.com,docketing@elkinskalt.com

Nikko Salvatore Stevens
                                   on behalf of Interested Party Courtesy NEF nikko@cym.law mandi@cym.law

United States Trustee (LA)
                                   ustpregion16.la.ecf@usdoj.gov
       Case 2:23-ap-01151-SK Doc 61 Filed 11/23/23         Entered 11/23/23 21:18:32    Desc
                           Imaged Certificate of Notice    Page 2 of 4
District/off: 0973-2                     User: admin                                    Page 2 of 2
Date Rcvd: Nov 21, 2023                  Form ID: van193                               Total Noticed: 1
TOTAL: 5
         Case 2:23-ap-01151-SK Doc 61 Filed 11/23/23                                          Entered 11/23/23 21:18:32           Desc
                             Imaged Certificate of Notice                                     Page 3 of 4
                                            United States Bankruptcy Court
                                             Central District of California
                                            255 East Temple Street, Los Angeles, CA 90012
In re:
Leslie Klein                                                              BANKRUPTCY CASE NO.: 2:23−bk−10990−SK

                                                           Debtor(s).
                                                                          CHAPTER NO.: 11
Adi Vendriger
                                                                          ADVERSARY NO.: 2:23−ap−01151−SK
(See Attachment A for names of additional plaintiffs)
                                                           Plaintiff(s)
                              Versus

Leslie Klein


                                                        Defendant(s)

               NOTICE THAT DEFAULT HAS NOT BEEN ENTERED BY THE CLERK
                       UNDER LOCAL BANKRUPTCY RULE 7055−1(a)
On 11/21/2023, a request was filed for the clerk to enter default against defendant(s) Leslie Klein.
After reviewing the request against the complaint filed and summons issued by the court, a default will NOT be entered due to
the following reasons:

         The name of the defendant listed on the request does not match the complaint.

         The defendant's and or attorney's address listed on the Proof of Service does not match the complaint.

         The complaint file date listed on the request does not match the docket.

         A conformed copy of the executed Service of Summons form is not attached.

         The request is premature as the time for filing an answer or other responsive pleading has not expired.

         The summons has expired.

         An answer or other responsive pleading has been filed.

         The declaration required under Local Bankruptcy Rule 7055−1(a) is not attached.

         There is no Proof of Service of the request on the defaulting party.

         The Proof of Service and copy of the Summons is not attached to the request.

         A motion to (1) dismiss the Complaint or (2) for summary judgment has been filed by the defendant.



                                                                                   For the Court,

                                                                                   KATHLEEN J. CAMPBELL, CLERK OF COURT
Dated: November 21, 2023
                                                                                   By: Thais D. May
                                                                                    Deputy Clerk




(Form van193−ncned VAN−193) Rev. 12/2014                                                                           58 − 56 / TM
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                          Imaged Certificate of Notice                      Page 4 of 4



                                                  ATTACHMENT A
                                           Names of plaintiffs and defendants



Plaintiff(s):                                               Defendant(s):
Adi Vendriger                                               Leslie Klein
Adi Vendriger
Adi Vendriger




(Form van193−nched VAN−193) Rev. 12/2014

                                                   ATTACHMENT A
